    Case 1:23-cr-00430-KPF    Document 155   Filed 06/06/25     Page 1 of 47




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                Case No. 23 Cr. 430 (KPF)

                                         Final Pretrial Conference: July 8, 2025
          v.

ROMAN STORM, ET AL.,

                Defendants.




                    DEFENDANT ROMAN STORM’S
                  COMBINED MOTIONS IN LIMINE (1-10)




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       Case 1:23-cr-00430-KPF                     Document 155                  Filed 06/06/25               Page 2 of 47




                                               TABLE OF CONTENTS
                                                                                                                                    Page

I.     PRELIMINARY STATEMENT .........................................................................................1
II.    LEGAL STANDARD ..........................................................................................................1
III.   ARGUMENT .......................................................................................................................2
       A.        MIL No. 1: This Court Should Preclude the Government from Making
                 References to the Lazarus Group .............................................................................2
                 1.         Any Allegations Claiming that the Lazarus Group Conducted
                            Criminal Hacks and Used Tornado Cash Should Be Excluded for
                            Lack of Evidence .........................................................................................4
                 2.         In Any Event, the Identity of the Lazarus Group Is Not Relevant ..............7
                 3.         Any Possible Probative Value of the Identity of the Lazarus Group
                            Is Far Outweighed by Its Prejudicial Effect .................................................9
       B.        MIL No. 2: This Court Should Preclude the Government from Introducing
                 Victim Testimony or Referencing Victim Impacts Regarding the Lazarus
                 Group’s Hacking ....................................................................................................11
                 1.         Victim Impacts Are Irrelevant in This Case ..............................................11
                 2.         The Prejudicial Effect of Victim Testimony or References Would
                            Substantially Outweigh Any Probative Value ...........................................12
       C.        MIL No. 3: This Court Should Preclude the Government from Offering
                 Evidence or Argument Related to North Korea’s Military, Including Its
                 Weapons and Nuclear Missile Programs ...............................................................13
       D.        MIL No. 4: This Court Should Preclude the Government from Introducing
                 Evidence or Argument Regarding So-Called Tornado Cash “Marketing
                 Materials” that Allegedly Depict a Washing Machine ..........................................14
       E.        MIL No. 5: This Court Should Preclude the Government from Introducing
                 Any Evidence of Mr. Storm’s Alleged TORN Sales .............................................16
       F.        MIL No. 6: This Court Should Preclude the Government from
                 Characterizing Mr. Storm’s Alleged Sales of TORN Using Language that
                 Reflects a Legal Conclusion or Is Inflammatory, Confusing, or Unduly
                 Prejudicial, Including by Referencing His Russian Background...........................21
       G.        MIL No. 7: This Court Should Preclude the Government from Introducing
                 Evidence or Argument Referencing OFAC’s Imposition of Sanctions on
                 Tornado Cash Without Mentioning That The Sanctions Were Held to Be
                 Unlawful ................................................................................................................24
       H.        MIL No. 8: This Court Should Preclude the Government From Arguing
                 That Anonymous Blockchain Activity or Crypto-Mixing Is Illicit .......................27




                                                                  i
      Case 1:23-cr-00430-KPF                     Document 155                 Filed 06/06/25               Page 3 of 47




      I.        MIL No. 9: This Court Should Preclude the Government and Its Witnesses
                from Referring to Tornado Cash as a “Service” and Its Users as
                “Customers” ...........................................................................................................29
                1.         This Court Should Preclude the Government’s Witnesses From
                           Using the Terms “Service” and “Customer” Because the Terms
                           Imply Legal Conclusions ...........................................................................30
                2.         The Terms “Service” and “Customer” Are Not Probative and Are
                           Unduly Prejudicial .....................................................................................34
      J.        MIL No. 10: This Court Should Preclude the Government and Its
                Witnesses From Offering Improper Summary Charts or Summary
                Testimony ..............................................................................................................35
IV.   CONCLUSION ..................................................................................................................40




                                                                ii
         Case 1:23-cr-00430-KPF                    Document 155                Filed 06/06/25            Page 4 of 47




                                             TABLE OF AUTHORITIES

                                                                                                                               Page


CASES

Aristocrat Leisure Ltd. v. Deutsche Bank Trust Co. Americas.,
       2009 WL 3111766 (S.D.N.Y. Sept. 28, 2009) .................................................................. 22

Arlio v. Lively,
        474 F.3d 46 (2d Cir. 2007).................................................................................................. 2

Dep’t of Treasury, et al.,
       Case No. 23-13698,
       ECF Nos. 54 (11th Cir. Apr. 21, 2025)............................................................................. 25

Doe v. Lima,
       2020 WL 728813 (S.D.N.Y., Feb. 13, 2020) .................................................................... 13

FAA v. Landy,
       705 F.2d 624 (2d Cir. 1983).............................................................................................. 31

Highland Cap. Mgmt., L.P. v. Schneider,
      551 F. Supp. 2d 173 (S.D.N.Y. 2008)............................................................................... 34

In re Term Commodities Cotton Futures Litig.,
        2020 WL 5849142 (S.D.N.Y. Sept. 30, 2020) .................................................................. 31

MF Global Holdings, Ltd. v. PricewaterhouseCoopers LLP,
      232 F. Supp.3d 558 (S.D.N.Y. 2017).......................................................................... 22, 23

Old Chief v. United States,
      519 U.S. 172 (1997) .................................................................................................. 2, 9, 23

Peat, Inc. v. Vanguard Research, Inc.,
        378 F.3d 1154 (11th Cir. 2004) ........................................................................................ 38

United States v. Al-Moayad,
       545 F.3d 139 (2d Cir. 2008).............................................................................................. 10

United States v. Araujo,
       539 F.2d 287 (2d Cir. 1976).............................................................................................. 11

United States v. Banki,
       685 F.3d 99 (2d Cir. 2012)................................................................................................ 22

United States v. Bermudez,
       529 F.3d 158 (2d Cir.2008)............................................................................................... 12

United States v. Birney,
       686 F.2d 102 (2d Cir. 1982)................................................................................................ 2




                                                                 iii
         Case 1:23-cr-00430-KPF                       Document 155                Filed 06/06/25              Page 5 of 47



United States v. Bray,
       139 F.3d 1104 (6th Cir. 1998) .................................................................................... 38, 39

United States v. Duncan,
       42 F.3d 97 (2d Cir. 1994) ................................................................................................. 33

United States v. Elfgeeh,
       515 F.3d 100 (2d Cir. 2008).............................................................................................. 10

United States v. Figueroa,
       618 F.2d 934 (2d Cir. 1980)................................................................................................ 2

United States v. Fullwood,
       342 F.3d 409 (5th Cir. 2003) ............................................................................................ 38

United States v. Gleason,
       616 F.2d 2 (2d Cir. 1979) ................................................................................................. 24

United States v. Gotti,
       459 F.3d 296 (2d Cir. 2006)................................................................................................ 7

United States v. Guo,
       2024 WL 2262706 (S.D.N.Y. May 17, 2024) .................................................................. 29

United States v. Hendricks,
       921 F.3d 320 (2d Cir. 2019).............................................................................................. 12

United States v. Jacques Dessange, Inc.,
       2000 WL 294849 (S.D.N.Y. Mar. 21, 2000) .................................................................... 33

United States v. Johnson,
       54 F.3d 1150 (4th Cir. 1995) ............................................................................................ 38

United States v. Klein,
       2017 WL 1316999 (E.D.N.Y. Feb. 10, 2017)................................................................... 27

United States v. Lemire,
       720 F.2d 1327 (D.C. Cir. 1983) ........................................................................................ 38

United States v. Livoti,
       196 F.3d 322 (2d Cir. 1999)................................................................................................ 2

United States v. Malka,
       602 F. Supp. 3d 510 (S.D.N.Y. 2022)............................................................................... 12

United States v. Maxwell,
       20 CR 330 (AJN),
       (Dec. 9, 2021) ................................................................................................................... 37

United States v. Murgio,
       209 F. Supp. 3d 698 (S.D.N.Y. 2016)................................................................................. 8




                                                                    iv
         Case 1:23-cr-00430-KPF                       Document 155                Filed 06/06/25              Page 6 of 47



United States v. Neil Phillips,
       ECF No. 90 at 2,
       (S.D.N.Y. Oct. 20, 2023) ...................................................................................... 36, 39, 40

United States v. Paccione,
       949 F.2d 1183 (2d Cir. 1991)............................................................................................ 12

United States v. Patel,
       2023 WL 2643815 (D. Conn. Mar. 27, 2023) .................................................................. 34

United States v. Ray,
       No. 20 Cr. 110 (LJL),
       2022 WL 558146 (S.D.N.Y. Feb. 24, 2022) ..................................................................... 31

United States v. Scop,
       846 F.2d 135 (2d Cir. 1988).............................................................................................. 31

United States v. Smothers,
       652 F. Supp. 3d 271 (E.D.N.Y. 2023) .............................................................................. 22

United States v. Sterlingov,
       2023 WL 2387759 (D.D.C. Mar. 6, 2023)........................................................................ 28

United States v. Velastegui,
       199 F.3d 590 (2d Cir. 1999)........................................................................................ 17, 32

United States v. Wagner,
       2022 WL 19179 (S.D.N.Y. Jan. 3, 2022) ......................................................................... 31

Van Loon v. Dep’t of Treasury,
      No. 23-50669,
      2024 WL 1771719 (5th Cir. Apr. 15, 2024) .............................................................. passim

Van Loon v. Dept of the Treasury,
      No. 1:23-cv-312-RP,
      ECF No. 107 (W.D. Tex., Mar. 21, 2025) ............................................................ 25, 26, 27

Walker v. Time Life Films, Inc.,
      784 F.2d 44 (2d Cir. 1986)................................................................................................ 35


STATUTES

18 U.S.C. § 1956(a)(1) .................................................................................................................. 16

18 U.S.C. § 1960 ................................................................................................................. 8, 22, 32


FEDERAL STATUTES

Federal Evidence § 403.04[1][b] .................................................................................................. 34




                                                                     v
         Case 1:23-cr-00430-KPF                        Document 155                 Filed 06/06/25              Page 7 of 47



RULES

Fed. R. Evid. 1006 ............................................................................................................ 35, 36, 38

Fed. R. Evid. 105 .......................................................................................................................... 39

Fed. R. Evid. 107 .............................................................................................................. 37, 39, 40

Fed. R. Evid. 401 ................................................................................................................... passim

Fed. R. Evid. 402 ................................................................................................................... passim

Fed. R. Evid. 403 ................................................................................................................... passim

Fed. R. Evid. 611(a) .................................................................................................................35, 37


OTHER SOURCES

The Law and Politics of Cyberattack Attribution,
       67 UCLA L. REV. 520, 567 (2020)……………………………………………………....5




                                                                      vi
        Case 1:23-cr-00430-KPF        Document 155         Filed 06/06/25     Page 8 of 47




I.      PRELIMINARY STATEMENT

        Defendant Roman Storm respectfully submits this memorandum in support of the

following motions in limine to preclude the government, and its witnesses where applicable,

from:

        A. MIL No. 1: Making references to the Lazarus Group;

        B. MIL No. 2: Introducing victim testimony or referencing victim impacts regarding the
           Lazarus Group’s hacking;

        C. MIL No. 3: Introducing evidence or argument related to North Korea’s military,
           including its weapons and nuclear missile programs;

        D. MIL No. 4: Offering any evidence or argument regarding so-called Tornado Cash
           “marketing materials” that allegedly depict a washing machine;

        E. MIL No. 5: Introducing any evidence of Mr. Storm’s alleged TORN sales;

        F. MIL No. 6: Characterizing Mr. Storm’s alleged sales of TORN using language that
           reflects a legal conclusion or is inflammatory, confusing, or unduly prejudicial,
           including by referencing his Russian background;

        G. MIL No. 7: Introducing evidence or argument referencing OFAC’s imposition of
           sanctions on Tornado Cash without mentioning that the sanctions were held to be
           unlawful;

        H. MIL No. 8: Arguing that anonymous blockchain activity or cryptocurrency mixing is
           illicit;

        I. MIL No. 9: Referring to Tornado Cash as a “service” and its users as “customers”;
           and

        J. MIL No. 10: Offering improper summary charts or summary testimony.

        For the reasons discussed below, this Court should not permit the government to offer

such evidence, argument, and witness testimony at Mr. Storm’s upcoming trial pursuant to

various Federal Rules of Evidence.

II.     LEGAL STANDARD

        Evidence is relevant if it “has any tendency to make a fact more or less probable than it

would be without the evidence; and the fact is of consequence in determining the action.” Fed.



                                                 1
       Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25       Page 9 of 47




R. Evid. 401. If a piece of evidence tends to establish a fact “that is of consequence to the

determination of the action, then it is relevant. If it does not tend to prove a material fact, it is

irrelevant.” Arlio v. Lively, 474 F.3d 46, 52 (2d Cir. 2007). “Irrelevant evidence is not

admissible.” Fed. R. Evid. 402.

        Even if evidence is both relevant and otherwise admissible, courts may nonetheless

exclude such evidence if “its probative value is substantially outweighed by a danger of…unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.” Fed. R. Evid. 403. The term “unfair prejudice,” with respect

to a criminal defendant, “speaks to the capacity of some concededly relevant evidence to lure the

factfinder into declaring guilt on a ground different from proof specific to the offense charged.”

Old Chief v. United States, 519 U.S. 172, 180 (1997). As such, in determining whether evidence

is unfairly prejudicial, a court may consider the context of the alleged crime and will exclude

evidence when it is “more inflammatory than the charged crime.” United States v. Livoti, 196

F.3d 322, 326 (2d Cir. 1999); see United States v. Birney, 686 F.2d 102, 106 (2d Cir. 1982)

(citing Fed. R. Evid. 403, Advisory Committee Note) (“[U]nfair prejudice means an undue

tendency to suggest decision on an improper basis, commonly, though not necessarily, an

emotional one.”). In other words, unfair prejudice may result if evidence tends “to prove some

adverse fact not properly in issue or unfairly to excite emotions against the defendant.” United

States v. Figueroa, 618 F.2d 934, 943 (2d Cir. 1980).

III.    ARGUMENT

        A.      MIL No. 1: This Court Should Preclude the Government from Making
                References to the Lazarus Group

        Mr. Storm is charged with three counts of conspiracy: (1) money laundering;

(2) operating an unlicensed money transmitting business; and (3) violating the International




                                                   2
      Case 1:23-cr-00430-KPF           Document 155        Filed 06/06/25       Page 10 of 47




Emergency Economic Powers Act (“IEEPA”). (See Dkt. 1 (“Ind.”).)1 The heart of the

government’s allegations is that a third-party, the so-called “Lazarus Group,” purportedly

utilized the Tornado Cash protocol to launder criminal proceeds from a supposed hacking

operation and to evade sanctions against North Korea. (See, e.g., id. at ¶¶ 1, 55, 60-61, 65-68,85-

88.) Mr. Storm is not charged with hacking, nor is he alleged to have conspired with or have any

ties to the Lazarus Group. In fact, the government has conceded that it does not allege that Mr.

Storm conspired with any Tornado Cash user, including the Lazurus Group, to violate the federal

money laundering statute. (See Gov’t Opp. to Pretrial Mots., Dkt. 53 at 40.)

       Nevertheless, given the lengthy allegations in the Indictment discussing the Lazarus

Group, the defense anticipates that the government will attempt to contend that the group

conducted criminal hacks, including the alleged cyber-attack known as the “Ronin hack,” and

that the group is connected to the North Korean government. (See, e.g., Ind. ¶¶ 55-61, 66-67,

73.) There are two major problems with these contentions: (1) the government has produced no

evidence supporting the contention that the Ronin hack was conducted by the Lazarus Group

(which is itself a catch-all term describing cybercriminals sponsored by North Korea but

affiliating in different subgroups for different purposes); and (2) in any event, the identity of the

Lazarus Group, and particularly its association with North Korea, is not relevant to the charges

here and is substantially more prejudicial than probative. Accordingly, Mr. Storm moves for an

order precluding references by the government at trial to the Lazarus Group, including any

argument or evidence regarding the nationality or nature of the group, due to the irrelevance and

unfair prejudice of any such references.




1
  All refences in this motion are to the original speaking Indictment, Dkt. 1, unless otherwise
indicated.



                                                  3
     Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25     Page 11 of 47




               1.     Any Allegations Claiming that the Lazarus Group Conducted
                      Criminal Hacks and Used Tornado Cash Should Be Excluded for
                      Lack of Evidence

       The government has produced no evidence, including from a testifying expert or even a

qualified government authority,2 that proves that the Lazarus Group (whatever it actually is)

conducted any hack. While the Indictment contains numerous inflammatory allegations

concerning the Lazarus Group, as discussed further below, the “evidence” does not support these

statements. Indeed, the government’s proposed testifying witnesses themselves are not experts

in North Korean money laundering and offer no opinions that the Lazarus Group conducted the

hacks.3 Without reliable evidence to attribute the Ronin Hack to the Lazarus Group, evidence

regarding the Lazarus Group is irrelevant as the group bears no demonstrated connection to this

case. See Fed. R. Evid. 401, 402.

       In the Indictment, the only support offered for the Lazarus Group’s purported

involvement in the Ronin hack is the reference to an FBI-issued three-sentence press release with

no supporting evidence. (See Ind. ¶ 60 (citing Apr. 14 2022 FBI Press Release).)4 That press

release is inadmissible hearsay under Federal Rules of Evidence 801 and 802, and the

government has offered no other evidence that would attribute any hack to the Lazarus Group.


2
  True and correct copies of: (1) the government’s February 18, 2025 expert disclosure cover
letter (“Exhibit A”) and (2) the government’s expert witness disclosures (“Exhibits B-D”) are
attached to this motion. In its letter, the government disclosed that it intends to call Special
Agent Joel DeCapua of the Federal Bureau of Investigation (“FBI”), Special Agent Stephan
George of the Internal Revenue Service – Criminal Investigation (“IRS-CI”), and Philip Werlau
as expert witnesses; and John Pisa-Relli, Senior Law Enforcement Coordinator, Office of
Foreign Assets Control (“OFAC”), U.S. Department of the Treasury, as a lay witness. (See
Exhibit A.)
3
  The government’s proposed lay and expert testimony is the subject of a separate, concurrently
filed, motion in limine.
4
  FBI, FBI Statement on Attribution of Malicious Cyber Activity Posed by the Democratic
People's Republic of Korea, Apr. 14, 2022, available at https://www.fbi.gov/news/press-
releases/fbi-statement-on-attribution-of-malicious-cyber-activity-posed-by-the-democratic-
peoples-republic-of-korea.



                                                4
      Case 1:23-cr-00430-KPF         Document 155        Filed 06/06/25      Page 12 of 47




        The government’s proposed expert witness, Joel DeCapua, Special Agent with the FBI,

whom the government intends to “call[] to testify regarding the analysis and tracing of

cryptocurrency transactions using blockchain data, including the tracing of criminal proceeds[,]”

makes no mention of the identity of any alleged perpetrator of computer intrusion, and does not

mention the Lazarus Group, or even North Korea, at all.5 (See generally Ex. B.) Nor could he—

Agent DeCapua does not purport to have any expertise on North Korea, the “Lazarus Group,” or

any alleged hacking activity by such group. (Id.)

        The April 14, 2022 FBI press release is also inherently unreliable. Legal scholars have

noted that the government’s public attribution of crimes to certain state-sponsored actors without

evidence can lead to abuses:

                Such “trust us” attributions are problematic for any number of
                reasons. They may be false. They will be difficult to corroborate
                (or debunk) because of the lack of supporting evidence. They may
                foster greater consolidation of blocs with respect to internet
                governance and cybersecurity issues because “trust us” will only
                work with allies.

Kristen Eichensehr, The Law and Politics of Cyberattack Attribution, 67 UCLA L. REV. 520,

567, 574 (2020). Further, such “attributions-by-alert” often use “estimative language” from the

intelligence community, deploying standards that are neither legally defined nor reviewable in

court. Id. at 574.




5
  Not only does Agent DeCapua make no mention of North Korea or the “Lazarus Group” in his
“expert” disclosure—he too relies on hearsay evidence as the basis of his opinion regarding
alleged “criminal exploits” that were supposedly later deposited into the Tornado Cash smart
contracts. (See Exhibit B.) This topic is more fully dealt with in the defense’s concurrently filed
motions in limine regarding the government’s proposed lay and expert witness testimony.



                                                 5
      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25       Page 13 of 47




       Relatedly, the government has often relied on Chainalysis for attribution of hacks to

North Korea—and OFAC did so in this very case6—but Chainalysis’ methodology is vague,

subject to confirmation bias, and indeed totally circular, as one of its criterion for attributing a

hack to North Korea is whether Tornado Cash was used to move proceeds.7 Indeed, recognizing

its attribution claims’ weakness, Chainalysis itself recently retracted earlier statements it had

made about North Korean hacking, reducing its estimate of hacked proceeds processed through

Tornado Cash in 2023 by more than $300 million.8 Given its uncertain methodology, and its

admitted errors, there is no reason that Chainalysis should be credited at all—which is likely why

the prosecution team has not proposed any expert evidence relying on it. Yet, Chainalysis’

acknowledged errors underscores the inherent subjectivity and lack of real data underlying the

alleged attribution of hacks to North Korea.

       Finally, neither the government’s purported hacking expert nor its proposed OFAC

witness intends to (or is qualified to) opine that any hacks are attributable to the Lazarus Group.

The government has noticed the testimony of OFAC official John Pisa-Relli, a lay witness, who

apparently will only testify that the wallet address 0x098B716 charged in Count Three was a

“blocked address.”9 (See Exhibit A at 2-3.) The government does not intend to introduce Pisa-



6
  The discovery materials in this case evidence that OFAC repeatedly relied on Chainalysis as its
source to attribute various hacks to North Korean Hackers. See e.g., USAO_0000120-122;
USAO_0000156.
7
  See Erin Plante, CHAINALYSIS, $30 Million Seized: How the Cryptocurrency Community Is
Making It Difficult for North Korean Hackers To Profit, Sept. 8, 2022, available at
https://www.chainalysis.com/blog/axie-infinity-ronin-bridge-dprk-hack-seizure/.
8
  See Chainalysis Team, CHAINALYSIS, Report: $2.2 Billion Stolen from Crypto Platforms in
2024, but Hacked Volumes Stagnate Toward Year-End as DPRK Slows Activity Post-July, Dec.
19, 2024, available at https://www.chainalysis.com/blog/crypto-hacking-stolen-funds-2025/.
9
  This statement is inaccurate. The 0x098B716 address was a Specially Designated National, a
sanctioned entity. But property and interests of an SDN are not “blocked” until they come into
connect with a U.S. person or entity. 31 CFR 510.201(a)(3) (“All property and interests in
property that are in the United States, that come within the United States, or that are or come



                                                   6
      Case 1:23-cr-00430-KPF          Document 155          Filed 06/06/25    Page 14 of 47




Relli as an expert, which is telling given that he too holds no expertise in North Korean hacking

activity, which the government presumably recognized in narrowly circumscribing his proffered

testimony. (Id.)

       Simply put, the government has no evidence that any hack was in fact conducted by the

Lazarus Group, so it should not be permitted to make such a claim.

               2.      In Any Event, the Identity of the Lazarus Group Is Not Relevant

       Even assuming the government could establish a connection between the Lazarus Group

and the Ronin hack, evidence regarding the identity of the Lazarus Group is irrelevant to the

charges in this case. To convict Mr. Storm of Count One (conspiracy to commit money

laundering), the government must prove beyond a reasonable doubt that Mr. Storm conspired to

do the following:

               (1) knowing that the property involved in a financial transaction
               represented the proceeds of some form of unlawful activity,
               (2) conduct[] or attempt[] to conduct a financial transaction
               (3) which in fact involved the proceeds of that unlawful activity,
               (4) . . . . with the knowledge that the transaction was designed at
               least in part to conceal or disguise the nature, location, source,
               ownership, or control of the proceeds of the unlawful activity.

United States v. Gotti, 459 F.3d 296, 334 (2d Cir. 2006).

       Applied to any of the above elements, the identity of the Lazarus Group is not relevant to

the government’s allegations that Mr. Storm conspired to commit money laundering. The

government’s theory is not that Mr. Storm was involved in the underlying hacking (he was not,

and there is no allegation that he was), nor that he conspired with the Lazarus Group to launder

money (he did not, and there is no allegation that he did). (See, e.g., Dkt. 53 at 40 (government


within the possession or control of any U.S. person of the following persons are blocked and may
not be transferred, paid, exported, withdrawn, or otherwise dealt.”). In other words, only after the
property becomes subject to U.S. jurisdiction does the obligation to block, or freeze, the property
kick in. E.O. 13722 § 2(a) and 31 CFR §§510.210(a)(3).



                                                 7
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 15 of 47




admits it does not “allege that [Mr. Storm] conspired with the hackers that laundered the

proceeds of their crimes through the Tornado Cash service.”) Rather, its theory is simply that

Mr. Storm knew that certain transactions using Tornado Cash’s protocol represented illegal

hacking proceeds yet did nothing to stop those transactions (even though he was powerless to do

so when they occurred). (See, e.g., id. at 13-14 (“[Mr. Storm] was fully aware that the service

was processing large volumes of criminal proceeds and continued to operate the service[.]”).)

Under the government’s theory, it does not matter who the hackers were; it only matters that Mr.

Storm knew about the hacking, knew that the hackers were using the Tornado Cash protocol to

conceal the proceeds of the illegal hacking, and willfully conspired to launder those proceeds. In

sum, the Lazarus Group’s purported connection to North Korea has no relevance to whether Mr.

Storm conspired to commit money laundering.

       The identity of the Lazarus Group is likewise not relevant to Count Two (conspiracy to

operate an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(b)(1)(C)) for

the same reasons. The relevant elements that the government is required to prove are that Mr.

Storm conspired to “a) transfer, on behalf of the public, b) funds, and c) . . . with knowledge that

the funds were derived from a criminal offense.” See, e.g., United States v. Murgio, 209 F. Supp.

3d 698, 706 (S.D.N.Y. 2016) (citing 18 U.S.C. § 1960) (internal quotations omitted). Again, for

this offense, the identity of any alleged hackers does not matter; the only knowledge at issue is

whether the funds were derived from a criminal offense. The Lazarus Group’s connection to the

North Korean government, therefore, again has no relevance.

       The identity of the Lazarus Group is also not relevant to Count Three (conspiracy to

violate IEEPA). To prove an IEEPA violation, the government must prove that Mr. Storm

knowingly and willfully entered into a conspiracy with the objective of causing a U.S. person to




                                                 8
      Case 1:23-cr-00430-KPF         Document 155         Filed 06/06/25     Page 16 of 47




deal in property of a sanctioned entity without OFAC approval. The sanctioned entity charged is

the 0x098B716 Address, and the fact that the address might be affiliated with the Lazarus Group

is irrelevant to IEEPA’s elements. The government effectively concedes this fact, given that it

offers no evidence to prove the identity of the person or entity who controlled the wallet. For the

reasons set forth above, the defense is skeptical that the government could even prove that the

wallet was associated with North Korea, much less specifically attribute it to the Lazarus Group.

The defense is willing, however, to stipulate that the wallet address was designated as an SDN.

Therefore, the government can simply use the term “sanctioned entity” without further

explication. See Defense Proposed Jury Instructions, XVI(B).

               3.      Any Possible Probative Value of the Identity of the Lazarus Group Is
                       Far Outweighed by Its Prejudicial Effect

       Even if the Lazarus Group had a demonstrated connection to any hacks at issue, and even

if that fact was relevant to the charged offenses, its probative value would be far outweighed by

its prejudicial effect and should be precluded under Federal Rule of Evidence 403. Where

prejudicial evidence regarding other bad conduct is not needed to prove the elements of the

charged offense, it should be excluded under Rule 403. See Old Chief, 519 U.S. at 180-86

(finding it unfairly prejudicial to introduce evidence of name and nature of defendant’s prior

conviction in felon-in-possession case where defendant offered to stipulate to fact of prior

conviction). Here, the other bad conduct at issue is not even that of Mr. Storm but of an

unrelated entity altogether.

       The Lazarus Group refers to a group of cybercriminals sponsored by the North Korean

government. Jurors can be expected to know that North Korea poses specific threats to the

interests of the United States and to have strong feelings about such a threat. Any references to




                                                 9
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 17 of 47




the Lazarus Group, without any connection between Mr. Storm and the group, risks inflaming

the jury and thus would be unfairly prejudicial.

       Indeed, introducing evidence regarding the Lazarus Group is akin to introducing evidence

regarding a terrorist group. “There can be little doubt that . . . evidence linking a defendant to

terrorism in a trial in which he is not charged with terrorism is likely to cause undue prejudice.”

United States v. Elfgeeh, 515 F.3d 100, 127 (2d Cir. 2008). In United States v. Al-Moayad, the

Second Circuit reversed the district court for allowing testimony regarding terrorist conduct that

the defendant was not charged with, although the defendant was charged with providing material

support to the same terrorist group. See 545 F.3d 139, 159-62 (2d Cir. 2008) (evidence of

uncharged conduct, an eyewitness description of a terrorist bus bombing, not involving the

defendant was found to be more inflammatory than the charged crime). The Second Circuit held

that given the defense’s willingness to stipulate that the group was a terrorist organization, the

testimony was too prejudicial, not probative, and had an unfair effect. Id. at 160-61. Similarly,

references to the Lazarus Group and its alleged cybercrimes in support of the North Korean

government would be highly prejudicial, not probative of any element of the government’s

charges, and would have an unfair effect because Mr. Storm has not been charged with the

Lazarus Group’s purported crimes and is not alleged to have any connection to the group.

       Introducing evidence regarding the identity of the Lazarus Group would also confuse the

issues, mislead the jury, cause undue delay, and waste time. See Fed. R. Evid. 403. As

discussed above, the government’s basis for attributing the Ronin Bridge hack to the Lazarus

Group remains unexplained, is unclear, and would be subject to scrutiny from the defense.

While the government may rely on undisclosed evidence sources in making a public declaration

or designating a wallet as blocked property, the government should not be permitted to rely on




                                                   10
     Case 1:23-cr-00430-KPF           Document 155        Filed 06/06/25     Page 18 of 47




undisclosed evidence sources in a criminal trial. Disclosure of the government’s evidence

sources could also lead to a mini-trial as to whether such attribution is appropriate. Evidence

about the Lazarus Group would be complex, likely requiring expert testimony, and would

consume undue amounts of time, given its minimal relevance to the charges. And litigating

these issues runs a high risk of jurors improperly inferring that Mr. Storm had connections to the

group. For these reasons, this Court should exclude any evidence regarding the identity of the

Lazarus Group under Rule 403.

       B.      MIL No. 2: This Court Should Preclude the Government from Introducing
               Victim Testimony or Referencing Victim Impacts Regarding the Lazarus
               Group’s Hacking

       Relatedly, Mr. Storm moves for an order precluding testimony from any victims or

references to the impact on victims of any alleged hacks based on irrelevance and unfair

prejudice in violation of Federal Rules of Evidence 401, 402, and 403. The experience of the

victims of any bad actors who hacked other protocols and routed proceeds through Tornado Cash

has no relevance to proving the charges against Mr. Storm. Any references to such alleged

victims will also cause him unfair prejudice.

               1.      Victim Impacts Are Irrelevant in This Case

       The experience of any hack victim has no bearing on the charges at bar, and any

testimony or references related to such experiences thus should be excluded under Federal Rules

of Evidence 401 and 402. There is no evidence tying Mr. Storm to any bad actor’s criminal

conduct.

       To prove conspiracy, the government must demonstrate beyond a reasonable doubt:

“(1) the existence of the conspiracy charged, and (2) the participation of each defendant in that

conspiracy.” United States v. Araujo, 539 F.2d 287, 289 (2d Cir. 1976). As to the second




                                                11
     Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 19 of 47




element, the Second Circuit has said, “proof of criminal acts not involving [the defendants]

would be irrelevant.” Id.

       The government has produced discovery reflecting an interview with an individual who

was allegedly scammed by the Lazarus Group, causing that person to purportedly lose substantial

amounts of money. But Mr. Storm is not charged with the conduct that allegedly victimized this

individual, and such testimony would have no bearing on the charges Mr. Storm faces. Proof of

criminal acts not involving Mr. Storm should thus be excluded as irrelevant. Id.

               2.     The Prejudicial Effect of Victim Testimony or References Would
                      Substantially Outweigh Any Probative Value

       Even if evidence pertaining to hacking victims were somehow relevant, the government

should nonetheless be precluded from introducing it because any probative value would be

substantially outweighed by the danger of “unfair prejudice, confusing the issues, misleading the

jury, . . .[or] wasting time[.]” Fed. R. Evid. 403; see United States v. Bermudez, 529 F.3d 158,

161 (2d Cir.2008) (“courts have broad discretion to balance probative value against possible

prejudice”).

       “When evaluating the admissibility of victim impact testimony during trial, a district

court should carefully consider the prejudicial potential of such testimony.” United States v.

Hendricks, 921 F.3d 320, 329 (2d Cir. 2019). Victim statements are highly prejudicial because

they appeal to juror sympathies, and courts in this District have routinely excluded evidence that

unfairly appeals to such emotion. See, e.g., United States v. Malka, 602 F. Supp. 3d 510, 527

(S.D.N.Y. 2022). The Second Circuit has affirmed excluding evidence on that basis. See, e.g.,

United States v. Paccione, 949 F.2d 1183, 1201 (2d Cir. 1991) (affirming exclusion of evidence

that defendant’s son had cerebral palsy because the evidence “could well cause the jury to be

influenced by sympathies having no bearing on the merits of the case”).




                                                12
     Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25     Page 20 of 47




       Here, testimony from any alleged hacking victim would serve as nothing more than a tool

to appeal to jurors’ sympathies. Such references would unfairly prejudice Mr. Storm, who has

not been charged with the Lazarus Group’s criminal conduct. Furthermore, it would confuse the

issues and mislead the jury into considering victims of crimes with which Mr. Storm is not

charged. Likewise, it would cause undue delay and waste time to discuss matters that would not

assist the government in proving their charges against Mr. Storm.

       C.      MIL No. 3: This Court Should Preclude the Government from Offering
               Evidence or Argument Related to North Korea’s Military, Including Its
               Weapons and Nuclear Missile Programs

       While the government has not provided any indication that it intends to offer evidence or

make arguments related to North Korea’s military, including weapons and nuclear missile

programs, such evidence would be extremely prejudicial, and the government should be

precluded from offering any such evidence or arguments pursuant to Federal Rules of Evidence

401, 402, and 403.

       There is no evidence that Mr. Storm was involved in any attempt to assist the North

Korean military or, indeed, had any contact with North Korea whatsoever. Thus, any implication

(whether through evidence or argument) that Mr. Storm somehow assisted North Korea’s

military is irrelevant to the claims here, which deal solely with Mr. Storm’s involvement with a

decentralized cryptocurrency privacy tool, i.e., the Tornado Cash protocol. Given the highly

controversial nature of North Korea’s military, including its weapons and nuclear missile

programs, the mere mention of these topics at Mr. Storm’s trial would be inflammatory, highly

prejudicial, and misleading. This is precisely what Rule 403 seeks to avoid. See Doe v. Lima,

2020 WL 728813, at *6 (S.D.N.Y., Feb. 13, 2020). Therefore, this Court should preclude any

such evidence or argument.




                                               13
     Case 1:23-cr-00430-KPF           Document 155        Filed 06/06/25      Page 21 of 47




       D.      MIL No. 4: This Court Should Preclude the Government from Introducing
               Evidence or Argument Regarding So-Called Tornado Cash “Marketing
               Materials” that Allegedly Depict a Washing Machine

       Based on the government’s comments at the July 12, 2024 motions hearing, the defense

expects the government to offer in evidence alleged marketing materials of Peppersec (an entity

of which Mr. Storm was a developer) depicting a washing machine to attempt to show Mr.

Storm’s criminal intent. This Court should exclude this evidence under Federal Rules of

Evidence 401, 402, and 403.

       The government’s relevance claim, as explained at the hearing, is expected to be that the

Peppersec developers:

               did in fact market the service specifically to money launderers.
               And there will be evidence of that at trial, and we think that will be
               one of the bases on which the jury can find the requisite intent to
               be conspiracy to commit money laundering. Just to take an
               example of that, the defendant created marketing materials that
               showed dirty ETH, and then it showed a washing machine, and the
               washing machine had the Tornado Cash logo on it. So it was very
               explicit what they contemplate their customer base wanted.

(Dkt. 69, July 12, 2024, Oral Arg. Tr. At 94:4-13.) This argument rings hollow, as it is devoid of

any context concerning when and why the alleged “marketing materials” were created, and

where and when they were used.10 Viewed in context, the government cannot connect any dots

to prove that those materials showed any intent or motive regarding Tornado Cash’s target

market, and they therefore should be excluded.

       As an initial matter, the fact that marketing materials were created proves nothing, and

certainly does not show that Peppersec’s developers, including Mr. Storm, targeted a nefarious

“customer base.” The defense understands that the “marketing materials” are nothing more than



10
  At present, the defense is not precisely sure what the purported marketing materials are,
because the government will not be disclosing its exhibit list until June 30, 2025.



                                                 14
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 22 of 47




a crude cartoon attempting to simplify and poke fun at its subject matter, and on their face not

meant to be taken literally.

       Further, the alleged marketing materials were not in fact used to market to money

launders. The defense believes the government will be able to show, at most, that they were used

at an early and reputable Ethereum conference, ETH Boston 2019. Such ETH conferences were

and are today reputable forums for academic, developer, and industry collaboration and

advocacy. Indeed, ETH Boston 2018 took place at Harvard University and was marketed as

bringing together “[t]he leading minds in the cryptocurrency space” from around the world to

collaborate together on decentralized applications using Ethereum.”11 North Korean

cybercriminals would not be in attendance at ETH Boston, nor could there be any evidence of

them attending. The appearance of the Peppersec developers at such conferences served exactly

the opposite purpose from what the government suggests: they served to educate the Ethereum

community generally about Tornado Cash, as the key to the Tornado Cash protocol’s success

was widespread lawful adoption in the Ethereum community.

       The so-called “marketing materials” are also irrelevant to the government’s case here

because, to the defense’s knowledge, they were only used in or about fall 2019—prior to the time

that any of the charged conspiracies allegedly began. The government’s alleged conspiracies

began a full year later, in September 2020 (see Ind. ¶ 77), and there is no evidence as far as the

defense is aware that Mr. Storm ever used such marketing materials after fall 2019.

       Even if the alleged marketing materials were relevant to the charges, it is far more

prejudicial than probative here, and thus in violation of Rule 403. Should the alleged marketing




11
   See CRYPTOEVENTS, ETHBoston — September 6-8, 2019 Announcement, available at
https://cryptoevents.global/ethboston-hackaton-2019/.



                                                 15
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 23 of 47




materials be introduced in evidence, the defense will be forced to respond with evidence as to the

circumstances under which they were created, the limited time period they were used, when and

why Mr. Storm expressly determined they should not be used after 2019, and what type of

marketing materials in fact were used, resulting in a mini-trial on tangential issues, rather than

keeping the focus on the development of Tornado Cash during the time period charged in the

Indictment.

       For these reasons, the Court should preclude the government from introducing the

purported “marketing materials.”

       E.      MIL No. 5: This Court Should Preclude the Government from Introducing
               Any Evidence of Mr. Storm’s Alleged TORN Sales

       This Court should preclude the government from introducing any evidence of Mr.

Storm’s alleged sales of TORN, which do not reflect a fee or profit from use of the Tornado

Cash protocol, because it is not relevant under Rule 401 and, in any event, should be excluded

under Rule 403. This Court should further exclude references to Mr. Storm’s alleged sales of

TORN because it was legal to sell TORN, and presenting evidence of any alleged sales would

simply confuse the jury.

       For the money laundering and IEEPA conspiracy charges in the Indictment, whether or

not Mr. Storm made any profit from Tornado Cash is irrelevant and prejudicial. Money

laundering requires only evidence that the “financial transaction” at issue involved the proceeds

of specified unlawful activity, and there is no allegation that TORN, or sales thereof, represented

criminal proceeds. See 18 U.S.C. § 1956(a)(1).

       The only issue in this case for which it would be relevant to offer evidence of a fee is the

Section 1960 charge because a “money transmitting business” has been held to be a business that

transmits or transfers funds for a fee. See United States v. Velastegui, 199 F.3d 590, 592 (2d Cir.




                                                 16
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 24 of 47




1999). But Tornado Cash does not charge a protocol fee or any other fee for use and is instead

completely free for users. See Van Loon v. Dep’t of the Treasury, 122 F. 4th 549, 558 (5th Cir.

2024) (noting that the only fees are gas fees to the Ethereum blockchain and optional relayer

fees); see also Reply Brief of Plaintiff-Appellants, Van Loon v. Dep’t of Treasury, No. 23-50669

(5th Cir. Apr. 15, 2024), 2024 WL 1771719, at *23 (Reply Brief of Plaintiff-Appellants) (“The

immutable smart contracts do not confer any fees directly to the Tornado Cash ‘entity.’…

[M]any people use the immutable smart contracts without involving any relayer, and such

transactions do not result in any commissions.”). The only fees paid to use Tornado Cash were

the required gas fees paid directly to the Ethereum blockchain.12 See Electronic Frontier

Foundation (EFF) Amicus Brief Dkt. 122-1 at 9 (payment of gas fees is nothing more than

“built-in cost required to make a transaction on the [Ethereum] blockchain” and relayers’

payment of gas fees “is nothing more than the decentralized cryptocurrency program working as

it was intended”). Indeed, as noted in Van Loon, “Tornado Cash doesn’t profit from the

immutable smart contracts” or mutable contracts. 122 F. 4th at 567. While “[s]ome relayers and

TORN token holders may receive fees from using the mutable relayer-registry smart contracts,

[they do] not [profit] from the immutable smart contracts” because the protocol does not charge

any fees. Id. Given that there were no fees charged, the developers received no compensation

from any Tornado Cash smart contract activity.

       Similarly, neither the User Interface (“UI”) nor Command Line Interface (“CLI”) charged

a fee, as the government admits. Simply put, the Tornado Cash smart contracts, and the free



12
  See COINBASE, What Are Gas Fees?, available at https://www.coinbase.com/learn/crypto-
basics/what-are-gas-fees (noting that “[g]as fees... are transaction costs that users pay to execute
operations on the network” and that the fees are “a form of remuneration for validators who
maintain and secure the Ethereum blockchain,” thus Ethereum “[v]alidators… receive these
fees”).



                                                 17
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 25 of 47




ancillary software tools that the developers allegedly created to assist users in accessing them,

were entirely free and charged no fee. See e.g., Coin Center Amicus Brief, Dkt. 43 at 12 (“[N]o

fees are ever paid to the developers of the Tornado Cash protocol.”

       Recognizing that there was no fee charged by Tornado Cash, the government intends to

introduce evidence of gains that the developers realized from selling their allocations of TORN

as evidence of a fee for the use of the Tornado Cash protocol. But evidence of the developers’

TORN sales has no relevance to the issue of whether the alleged money transmitting business

charged a fee, and should be excluded.

       As an initial matter, the government has no evidence that any monies the developers

earned from selling TORN were associated with the usage of the Tornado Cash protocol. When

launched, and for most of the period it existed, TORN had no use case at all, and was solely a

tool to increase decentralization. As the Van Loon court explained: “After the pool contracts

became immutable, the original developers of Tornado Cash announced the creation of a

decentralized autonomous organization (DAO) and a new crypto token called TORN,” which

allows “individuals to vote on a limited subset of DAO governance issues.” 122 F. 4th at 557-

58. When announcing the possibility of the TORN token, a Medium article by the developers

stated that “TORN is an ERC20-compatible token with a fixed supply that governs

Tornado.Cash” and allows TORN holders to “make proposals and vote to change the protocol

via governance.”13 At the time of the launch of TORN in December 2020, the Medium article

made clear that “TORN is not a fundraising device or investment opportunity” and further noted

that TORN would initially be non-transferable.




13
   Tornado Cash, MEDIUM, Tornado.Cash Governance Proposal, Dec. 17, 2020, available at
https://tornado-cash.medium.com/tornado-cash-governance-proposal-a55c5c7d0703.



                                                 18
      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25      Page 26 of 47




       Even once the relayer register was implemented in April 2022—which occurred very

close to the end of the developers’ involvement with the project— it did not provide TORN

holders with profit from users’ use of Tornado Cash. As explained in the Blockchain

Association’s Amicus Curiae Brief, “[r]elayers are third parties who provide an additional layer

of anonymity for Tornado Cash Users.” (Dkt. 45 at 12.) Relayers “process withdrawal requests

on behalf of users, including paying the gas fee” and “[i]n return, relayers recoup the gas fee plus

a service fee.” (Id.) As Coin Center explained in its Amicus Brief, while the government

previously hypothesized that the requirement for relayers to hold TORN could have enriched the

Tornado Cash developers, “[t]his is an extremely attenuated claim with no evidence offered” and

does not create any “direct pecuniary link between any alleged users of the protocol (e.g. the

Lazarus Group) and the Defendant[].” (Dkt. 43 at 10.) Indeed, and to the contrary, the value of

TORN plummeted during the post-relayer registry period. (Id. at 11.) Given that the developers’

alleged TORN sales occurred during this period, the developers only lost money after the relayer

network was implemented, which is the opposite of profiting from any connection that the

relayer network could have provided between TORN and the use of the protocol.

       Moreover, even if TORN profit was linked in any way to the use of the Tornado Cash

protocol (which it is not), it is not a fee for service. The definition of a fee is “an amount of

money paid for a particular piece of work or for a particular right or service.”14 Fees charged by

a money transmitting business are fees for specific transactions or services. For example, Bank

of America charges its users a $10 fee for overdrafts, a $30 fee for domestic wire transfers, and




14
  Fee, CAMBRIDGE DICTIONARY, available at https://dictionary.cambridge.org/us/dictionary/
english/fee.



                                                  19
      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25     Page 27 of 47




so forth.15 Western Union advertises “four types of money transfer fees,” including (1) outgoing

transfer fees (2) incoming transfer fees, (3) intermediary transfer fees; and (4) exchange fees.16

Again, each of these fees is for a particular transfer service.

       Further, the developers’ gains from TORN sales were not profit, much less illicit profits.

Profit represents “money that is earned in trade or business after paying the costs of producing

and selling goods and services.”17 The government alleges that the “Tornado Cash service” was

a for-profit money transmitting business. But in fact, because the smart contracts and interface

charged no fees, the alleged business had no revenues, and thus no profits at all. The fact that the

developers were granted allocations of TORN, which rose and fell based on various market

factors, and sold some portion of their TORN for gains, does not mean that the “Tornado Cash

service” earned a profit. It therefore is not relevant to any issue in dispute and should be

excluded.

       Evidence of Mr. Storm’s TORN sales should further be excluded as more prejudicial than

probative, under Fed. R. Evid. 403. Any discussion of a defendant’s assets or wealth can be

prejudicial, and an allegation that Mr. Storm made significant gains in selling TORN may

confuse the jury into believing that Tornado Cash was in fact profitable when it was not. The

government has also suggested that there was some impropriety in selling TORN, coupling the




15
   BANK OF AMERICA, “Personal Schedule of Fees”, May 16, 2025, available at
https://www.bankofamerica.com/salesservices/deposits/resources/personal-schedule-fees/
(overdraft fee $10, domestic wire transfer fee of $30).
16
   Western Union clarifies that, in fact, “an exchange rate isn’t necessarily a fee,” but wants users
to understand it is a money transfer cost worthy of consideration. See Christy Lowery, WESTERN
UNION, How much are money transfer fees?, Nov. 29, 2024, available at
https://www.westernunion.com/blog/en/us/how-much-are-money-transfer-fees/. It also mentions
that other fees may apply, such as cancellation fees, correspondent bank fees, etc. Id.
17
   Profit, CAMBRIDGE DICTIONARY, available at https://dictionary.cambridge.org/dictionary/
english/profit.



                                                  20
     Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25     Page 28 of 47




events concerning the TORN sales with the chronology of OFAC’s ultra vires sanctions on the

Tornado Cash smart contracts. (See ind. ¶75 (“After the sanctions on the Tornado Cash service

were announced, . . . [Mr. Storm] again accessed the Binance account” and “transferred

approximately $7.6 million worth of U.S.-dollar pegged stablecoins.”).) In fact, TORN was not

sanctioned when Mr. Storm is alleged to have sold it in August 2022 and, in any event, the

sanctions were found illegal and have been lifted. (See infra at F (MIL No. 6)). Accordingly,

while it was neither nefarious nor improper for Mr. Storm to sell TORN at that time, the

government’s mention of the timing of the sales and the sanctions may confuse the jury and

result in unfair prejudice. Given that the TORN sales do not bear on any issue in the case, the

defense respectfully submits that the balance tilts toward excluding this evidence under Fed. R.

Evid. 403.

       F.      MIL No. 6: This Court Should Preclude the Government from
               Characterizing Mr. Storm’s Alleged Sales of TORN Using Language that
               Reflects a Legal Conclusion or Is Inflammatory, Confusing, or Unduly
               Prejudicial, Including by Referencing His Russian Background

       In the alternative, should this Court permit the government to reference Mr. Storm’s

TORN sales, pursuant to Federal Rules of Evidence 401, 402, and 403, this Court should

preclude the government and its witnesses from characterizing Mr. Storm’s alleged 2022 TORN

sales using language that is inflammatory, confusing, or unduly prejudicial. Crucially, it was not

illegal to sell TORN then, and it is not illegal to sell TORN now. While there was an interim

period where OFAC sanctioned TORN, as discussed further below, the Tornado Cash sanctions

were later ruled illegal in Van Loon, 122 F.4th 549 (5th Cir. 2024), and lifted on March 21, 2025.

       Evidence of Mr. Storm’s alleged sales of TORN is, at most, relevant to just one of the

three charges: Count Two, the alleged conspiracy to operate an unlicensed money transmitting

business in violation of 18 U.S.C. § 1960. To prove such a violation, the government must prove




                                                21
      Case 1:23-cr-00430-KPF           Document 155       Filed 06/06/25      Page 29 of 47




that the alleged money transmitting business is “(1) an enterprise (not a single transaction) (2)

that is conducted for a fee or profit.” United States v. Banki, 685 F.3d 99, 113 (2d Cir. 2012).

But even assuming Mr. Storm’s alleged sales of TORN are probative of the “profit” element of

Count Two and thus admissible, “courts often prohibit the use of certain ‘pejorative terms when

such categorizations [are] inflammatory and unnecessary to prove a claim’ and

such statements ‘do not bear on the issues being tried.”’ MF Global Holdings, Ltd. V.

Pricewaterhouse Coopers LLP, 232 F. Supp. 3d 558, 570 (S.D.N.Y. 2017) (quoting Aristocrat

Leisure Ltd. V. Deutsche Bank Trust Co. Americas., 2009 WL 3111766, at *7 (S.D.N.Y. Sept.

28, 2009)); see also United States v. Smothers, 652 F. Supp. 3d 271, 284 (E.D.N.Y. 2023)

(“Although evidence may be relevant as directly probative of, or inextricably intertwined with,

the defendant’s charged conduct, this evidence may nonetheless be inadmissible pursuant to

[Rule 403] if its probative value is substantially outweighed by a danger of unfair

prejudice.”) (citation omitted). Here, the government has made several inflammatory allegations

that it should be precluded from raising at trial.

       First, the government has made thinly veiled references to Mr. Storm’s Russian

background, which, if presented to a jury, would be highly prejudicial and irrelevant due to the

widespread negative image of Russia in the United States. The Indictment alleges that Mr.

Storm, “[i]n an effort to conceal” the Peppersec developers’ TORN sales, sold a portion of their

TORN tokens “through an account held in the name of another person, a Russian national, at

Binance, a cryptocurrency exchange.” (Ind. ¶ 73.) The Indictment also cites an alleged

statement by Mr. Storm that he “did everything from Russian Binance…and even from a Russian

IP (VPN).” (Id.) Such allegations are highly prejudicial and irrelevant, as the manner in which

Mr. Storm sold TORN has no bearing on the question of whether such sales reflect the profits of




                                                     22
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 30 of 47




an alleged money transmitting business. The government’s subtle references to Mr. Storm’s

connections to Russia, at a time when Russia’s favorability view among Americans is at a mere

9%,18 can serve no purpose other than to stoke the jury’s emotions against him. Because such

references are “inflammatory and unnecessary to prove a claim” and “do not bear on the issues

being tried,” MF Global, 232 F. Supp. 3d at 570, this Court should preclude the government

from making any reference to Mr. Storm’s alleged use of a “Russian national’s” account or a

VPN to access a “Russian Binance account” in connection with his alleged sales of TORN.

       Second, this Court should preclude the government from presenting any evidence

purporting to show why Mr. Storm allegedly sold TORN in the manner that he purportedly did,

as such allegations are, once again, not probative of any elements of the charges he faces. The

government alleges that Mr. Storm sold TORN through the Binance account “for the purpose of

selling them without revealing those sales to the public, including other holders of TORN

tokens.” (Ind. ¶ 73.) Whether or not that is true—and to be clear, it is not—Mr. Storm’s

motivations for effectuating the alleged sales in a particular manner have no bearing on whether

such sales reflect the profits of an alleged money transmitting business. Nor do Mr. Storm’s

motivations have any bearing on the other conspiracy charges he faces. As such, these

allegations are “more inflammatory than the charged crime,” Livoti, 196 F.3d at 326, and risk

“lur[ing] the factfinder into declaring guilt on a ground different from proof specific to the

offense charged.” Old Chief, 519 U.S. at 180. Requiring Mr. Storm to present a defense against

this allegation would “open up a flood of evidence regarding a possibly confusing collateral

issue.” United States v. Gleason, 616 F.2d 2, 23 (2d Cir. 1979). As such, this Court should



18
   See Jeffrey M. Jones, GALLUP, Americans’ Favorable Rating of Russia Sinks to New Low of
9%, (Mar. 13, 2023) available at https://news.gallup.com/poll/471872/americans-favorable-
rating-russia-sinks-new-low.aspx.



                                                 23
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25       Page 31 of 47




preclude the government from presenting any evidence regarding the manner of, or the

motivations for, Mr. Storm’s purported sales of TORN, which are not relevant.

       Finally, this Court should preclude evidence of Mr. Storm’s alleged statements to the

Peppersec developers after the sale of TORN for similar reasons. The government alleges that

Mr. Storm “sent further messages advising [the Peppersec developers], in substance, to conduct

further transactions to make it more difficult to trace these funds, saying, ‘my personal advice:

create new wallets, new seed phrases, transfer money to new addresses.’” (Ind. ¶ 75.) Again,

Mr. Storm’s statements to the Peppersec developers about what they should or should not do

with the TORN in their wallets is irrelevant to any elements of the charges Mr. Storm faces. As

an initial matter, there were perfectly lawful and valid reasons for Mr. Storm to offer that advice.

But more to the point, concealing or “mak[ing] it more difficult to trace” the alleged profits from

what the government argues is a money transmitting business, even if proven, is simply not an

element of any of the charges Mr. Storm faces. The government seeks to introduce these

statements not for their probative value but to prejudice the jury against Mr. Storm, and this

Court should therefore preclude the government from presenting post-sale statements by Mr.

Storm that are not probative of any of the elements of the offenses charged.

G.     MIL No. 7: This Court Should Preclude the Government from Introducing
       Evidence or Argument Referencing OFAC’s Imposition of Sanctions on Tornado
       Cash Without Mentioning That The Sanctions Were Held to Be Unlawful

       Should this Court allow the government to introduce evidence about TORN over the

defense’s above objections, then the defense requests an order that the government and its

witnesses be precluded under Rules 401, 402, and 403 from introducing evidence or making

references to OFAC’s imposition of sanctions on Tornado Cash without also mentioning that

courts later found the sanctions unlawful because OFAC lacked authority to impose them.




                                                 24
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 32 of 47




Reference to any sanctions on Tornado Cash without the context that the sanctions were

ultimately struck down by courts would be unfairly prejudicial and mislead the jury.

       On November 26, 2024, the Fifth Circuit decided Van Loon, , holding that the sanctions

entered against Tornado Cash “property” were unlawful because the immutable smart contracts

at issue cannot be considered “property” under the IEEPA.19 On March 21, 2025, the Treasury

Department announced that it would “remove the economic sanctions against Tornado Cash” in

light of “the novel legal and policy issues raised by use of financial sanctions against financial

and commercial activity occurring within evolving technology and legal environments.”20 That

same day, the Treasury Department filed a notice in the district court that “Tornado Cash is no

longer subject to sanctions by [OFAC], and this matter is now moot.” See Van Loon v. Dept of

the Treasury, No. 1:23-cv-312-RP, ECF No. 107 (W.D. Tex., Mar. 21, 2025). Both the press

release and filing included a link to the updated list of specially designated nationals, which

shows that all sanctions imposed on Tornado Cash property—not just those directed at the

immutable smart contracts—had been removed.21

       In another case challenging the Tornado Cash sanctions in the Eleventh Circuit, the

Treasury Department filed multiple motions to hold the appeal in abeyance in light of the

delisting and ongoing discussions with the plaintiffs regarding next steps.22 On April 28, 2025,

the district court entered an order granting the plaintiff’s motion for entry of judgment and, after



19
   OFAC defined Tornado Cash “property” as including “open-source computer code known as
‘smart contracts.’” Van Loon, 122 F.4th at 553.
20
   Press Release, DEP’T OF TREASURY, Tornado Cash Delisting, Mar. 21, 2025 available at
https://home.treasury.gov/news/press-releases/sb0057.
21
   See OFAC, Cyber-related Designation Removal; North Korea Designation Update and
Removal, Specially Designated Nationals List Update, Mar. 21, 2025, available at
https://ofac.treasury.gov/recent-actions/20250321.
22
   See Coin Center, et al. v. Secretary, Dep’t of Treasury, et al., Case No. 23-13698, ECF Nos.
54, 56, 58 (11th Cir. Apr. 21, 2025).



                                                 25
     Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25     Page 33 of 47




vacating its prior order granting the government’s motion for summary judgment, entered an

amended final judgment finding that the government’s “action is unlawful and is therefore set

aside” and that the government is “permanently enjoined from enforcing it.” Van Loon, No.

1:23-cv-312-RP, ECF No. 111 at 1.

       As discussed above, the indictment suggests that the government intends to offer

evidence that Mr. Storm sold TORN after the time of the sanctions to suggest that such sales

were improper. Specifically, the government alleges that after the announcement of the Tornado

Cash sanctions, Mr. Storm “accessed the Binance account, where he was holding at least

approximately $8 million worth of cryptocurrency that represented the proceeds of sales of

TORN tokens[,]” and later transferred $7.8 million worth of U.S.-dollar pegged stablecoins from

the Binance account.” (Ind. ¶ 75). This evidence should be precluded.

       As an initial matter, there was nothing unlawful about Mr. Storm selling TORN in

August 2022. TORN was not sanctioned at that time, and the imposed sanctions were later found

illegal. The Van Loon decision in fact fully supports that Mr. Storm could not have knowingly

and willfully conspired to commit money laundering and IEEPA sanctions violations because he

lacked any ability to control what any user did with the immutable smart contracts.

       Indeed, in finding that the smart contracts at issue were not property capable of being

owned, much less sanctioned, the Fifth Circuit observed that “no one can ‘exclude’ anyone from

using the Tornado Cash pool smart contracts.” Van Loon, 122 F.4th at 565. And in rejecting the

Department’s argument that the Tornado Cash smart contracts at issue were a “code-enabled

species of unilateral contracts,” the Fifth Circuit found that “[e]ven assuming the Tornado Cash

developers made an offer by creating the smart contracts and publicizing the code to be used for

mixing and pooling, they revoked their offer—and any role in it—by changing the code to be




                                               26
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 34 of 47




immutable, thus running independently and autonomously.” Id. at 568-69. The Fifth Circuit

further observed:

               Tornado Cash has no control over these immutable smart
               contracts. It cannot change the code, delete the code, or remove the
               code from the Ethereum blockchain network. In other words,
               Tornado Cash cannot “unplug” the immutable smart contracts.
               Even if Tornado Cash did not want North Korea, the Lazarus Group,
               or anyone else, for that matter, using the immutable smart contracts
               that the Tornado Cash developers created, Tornado Cash—let alone
               the Department—would be powerless to stop them.

Id. at 569.

        Here, if reference were made at trial to the Tornado Cash sanctions without the

information that they were subsequently determined by a court to be unlawful, it could

improperly suggest to the jury that they should reach the same (erroneous) conclusion as OFAC

when it first imposed the sanctions—that Tornado Cash knowingly dealt with sanctioned

property, specifically that of the Lazarus Group. See, e.g., United States v. Klein, 2017 WL

1316999, at *8 (E.D.N.Y. Feb. 10, 2017) (declining to allow the introduction of an SEC

complaint under Rule 403 because it would be suggestive to the jury that they should reach the

same conclusion the agency did as to the charged conduct). Such a conclusion would be at odds

with the view of the Fifth Circuit in Van Loon, which overruled OFAC.

        For all these reasons, this Court should exclude evidence of or references to the illegal

Tornado Cash sanctions pursuant to Federal Rules of Evidence 401, 402, and 403.

        H.     MIL No. 8: This Court Should Preclude the Government From Arguing That
               Anonymous Blockchain Activity or Crypto-Mixing Is Illicit

        The defense moves to preclude any government statements suggesting that crypto-mixing

protocols, or anonymizing software protocols more generally, are inherently suspicious or

constitute illicit activity, pursuant to Federal Rules of Evidence 401, 402, and 403. Any such




                                                 27
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 35 of 47




suggestion would be legally inaccurate and likely to unfairly prejudice Mr. Storm and confuse

the jury.

        The government has acknowledged in its briefing that Tornado Cash had the legitimate

goal of enhancing privacy for transactions on the blockchain. (See e.g., Dkt. 53 at 31 (“nothing in

this case indicates that cryptocurrency mixing services themselves are illegal”).) Elsewhere,

however, the government, while careful in its phrasing, appears to suggest that anonymous

blockchain transactions—and dealing in cryptocurrency in general—serve nefarious purposes.

(Id. at 3 (noting that cryptocurrency is the “preferred asset class of many criminals but especially

cybercriminals”); id. (alleging that Tornado Cash’s “features were of immense value to

cybercriminals”); id. at 13 (noting that “[b]ecause the Tornado Cash service enabled untraceable

cryptocurrency transfers, . . . it quickly became a haven for money laundering”).)

        The government should not be permitted to make broad-brush arguments that blockchain

applications providing for anonymity are indicative of criminality. The same would be true if,

instead of a case involving cryptocurrency, the case involved traditional banking or medical

services, industries which also rely heavily on privacy and shielding access to personally

identifiable information.

        Arguments suggesting that anonymity equals criminality would mislead the jury into

believing that Tornado Cash cannot (and does not) serve any legitimate purpose. To the

contrary, federal courts have explicitly held that “it is not per se unlawful to mix

cryptocurrency.” See, e.g., United States v. Sterlingov, 2023 WL 2387759, at *8 (D.D.C. Mar. 6,

2023). Even under current Department of Justice policy, mixers should not be prosecuted for the

acts of their end users. (See Deputy Attorney General Todd Blanche’s April 7, 2025,




                                                 28
        Case 1:23-cr-00430-KPF        Document 155         Filed 06/06/25      Page 36 of 47




Memorandum, Ending Regulation by Prosecution, at 1.)23 And as explained above and at length

in the motion to dismiss briefing, there are numerous legitimate benefits to blockchain

anonymizing protocols, including Tornado Cash. (See, e.g., Dkt. 45 at 9-10 (“Tornado Cash

solves these problems by protecting the privacy of individuals conducting digital asset

transactions, the vast majority of which are legitimate.” (collecting authorities)).) Any narrative

that crypto-mixing, or anonymous activity on the blockchain, is an illicit practice would distort

that truth and be plainly more prejudicial than probative in this case. Cf. United States v. Guo,

2024 WL 2262706, at *4 (S.D.N.Y. May 17, 2024) (precluding government from eliciting

“references to cryptocurrency frauds” as “prejudicial”).

          Accordingly, this Court should preclude any suggestion that engaging in anonymous

blockchain transactions, or the software or protocols that enable such activity, implies illicit

activity.

          I.     MIL No. 9: This Court Should Preclude the Government and Its Witnesses
                 from Referring to Tornado Cash as a “Service” and Its Users as
                 “Customers”

          This Court should preclude the government and its witnesses from referring to Tornado

Cash and its users by anything other than “Tornado Cash” and “users.” The government’s

submissions in this case demonstrate that it intends to refer to Tornado Cash as the “Tornado

Cash service” and to the users of Tornado Cash as “customers.” (See, e.g., Ind. ¶¶ 1, 3, 10, 13-

22, 24-25.) Likewise, the government’s expert witness disclosures by Special Agent Joel

DeCapua of the FBI, Special Agent Stephan George of IRS-CI, and Philip Werlau demonstrate

their intent to parrot the government’s terminology, using “Tornado Cash service” and

“customers,” in their respective expert disclosures. (See Exhibit B-D, respectively.) This Court



23
     Available at https://www.justice.gov/dag/media/1395781/dl?inline.



                                                 29
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 37 of 47




should preclude the use of such terms by the government’s witnesses because, in the context of

this case, those terms amount to legal conclusions, which are ultimate issues for the jury to

decide. A central question for the jury to decide is whether Tornado Cash was, in fact, a

“service” and whether its users were “customers” such that the required elements of the charged

offenses are met.

       Additionally, this Court should preclude such terminology from being used by the

government and its witnesses under Fed. R. Evid. 403 because there is no factual basis for the

government’s nomenclature of the “Tornado Cash service”—the term is entirely of the

government’s creation. Tornado Cash, as a project, has never used the term “service.” Indeed,

there is nothing in the Tornado Cash literature24 that ever characterizes it as the “Tornado Cash

service.” Nor is there evidence that there is a public understanding of Tornado Cash as the

“Tornado Cash service.” Likewise, the use of “customer” as a term to describe Tornado Cash

users is not based in fact and is instead designed to bolster the government’s allegations that

Tornado Cash is a “money transmitting business.” In this way, its deployment at trial would

carry the additional risk of misleading the jury.

               1.      This Court Should Preclude the Government’s Witnesses From Using
                       the Terms “Service” and “Customer” Because the Terms Imply Legal
                       Conclusions

       The defense expects the government’s experts to use the terms “service” and “customers”

as set forth in their expert disclosures. The defense likewise expects other witnesses to parrot

this government-created terminology. Neither the government’s expert witnesses nor its lay

witnesses should be permitted to offer testimony characterizing the Tornado Cash smart

contracts and related applications as a “service,” nor should they be permitted to characterize its


24
 The Tornado Cash literature refers to the Tornado Cash Whitepaper, its Medium posts, its
website, and other official written material from the project.



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      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25      Page 38 of 47




users as “customers.” The terms are suggestive of legal conclusions—a practice that is

disallowed under the Federal Rules of Evidence. See, e.g., In re Term Commodities Cotton

Futures Litig., 2020 WL 5849142, at *13 (S.D.N.Y. Sept. 30, 2020) (“[W]itnesses ‘may not

present testimony in the form of legal conclusions.’”). Courts in this District have precluded the

government from using such terms because they “presume the ultimate issue before the jury.”

See, e.g., United States v. Ray, 2022 WL 558146, at *25-26 (S.D.N.Y. Feb. 24, 2022)

(precluding the government from using the term “victim” outside of opening and summation and

finding persuasive cases “that it constitutes improper vouching and is inconsistent with the

constitutional presumption of innocence for the Government and its witnesses to refer to

complaining witnesses as ‘victims’ in a case where the defense is that no crime occurred”);

United States v. Wagner, 2022 WL 19179, at *6 (S.D.N.Y. Jan. 3, 2022) (granting defense

motion to preclude government from using the word “victim” during trial).

       In particular, the Second Circuit has cautioned that government witnesses, such as

experts, should not use terms that reflect legal conclusions at trial. For example, in United States

v. Scop, 846 F.2d 135 (2d Cir. 1988), the Circuit reversed convictions where the district court

allowed a government expert witness in a securities fraud case to repeat words like

“manipulation,” “scheme to defraud,” and “fraud” before the jury—i.e., “statutory and regulatory

language” that is not “self-defining,” is “subject of diverse judicial interpretation,” and is

“indicat[ive of] guilt.” Id. at 140–42. The Second Circuit further held that this testimony was

not helpful to the jury, but instead was “calculated to ‘invade the province of the Court to

determine the applicable law and to instruct the jury as to that law.’” Id. at 140 (quoting FAA v.

Landy, 705 F.2d 624, 632 (2d Cir. 1983)).




                                                  31
      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25      Page 39 of 47




        Here, the government’s witnesses’ use of “service” and “customers” is similarly

prejudicial and perilous due to the government’s likely theories of guilt as to Count Two, which

charges Mr. Storm with “conspiracy to operate an unlicensed money transmitting business”

under 18 U.S.C. § 1960, and requires the government to prove that Mr. Storm conspired to

operate a “money services business” under the statute. A “money transmitting business” is a

business that, for a fee, accepts funds and transfers such funds on behalf of the public. 18 U.S.C.

§ 1960(b)(2); see Velastegui, 199 F.3d at 592. But Tornado Cash, of course, does not charge any

fee, nor does the UI that the Tornado Cash developers created. The government has therefore

sought to use the term “service” as an artificial means to intermingle not only the Tornado Cash

smart contracts, but also ancillary tools developed to use the smart contracts, such as the UI and

relayer registry.25

        The government has simply invented the term “Tornado Cash service” to encompass all

of these tools, and characterize Tornado Cash as an entity that engaged in “money services.”

The terms “service” and “customer,” are conclusory and cannot be employed as a substitute for

evidence. The government’s characterization would improperly mislead the jury into assuming

that Tornado Cash satisfies the “business” and “for a fee” elements to qualify as a “money



25
   As the EFF explains in its Amicus Brief: “[C]reating a website, user interface or back-office
software for a dual-use tool should not be a basis for liability. . . . [C]riminal liability should not
rise or fall based on whether a dual-use toolmaker shipped its product with a user manual.” (Dkt.
122-1 at 4-5.) Similarly, as to the relayer network,

        [w]hat the government describes as some nefarious scheme by which Mr. Storm received
        kickbacks based on illegal transactions is nothing more than the decentralized
        cryptocurrency program working as it was intended. . . . . The argument is akin to
        claiming that Visa or MasterCard would be criminally liable based solely on receiving
        transaction fees whenever its customers transferred money as part of some underlying
        criminal activity.

(Id. at 5).



                                                  32
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 40 of 47




transmitting business” for purposes of Count Two. Allowing the government to use these terms

at trial would predispose the jury’s determination on an ultimate issue, violate the presumption of

innocence, and lessen the government’s constitutionally mandated burden of proof.

       The disclosed expert reports make clear that the government has required its experts to

adopt this terminology, as they each refer to Tornado Cash as the “Tornado Cash service,” and to

its users as “customers” repeatedly. Indeed, Philip Warlau’s 12-page disclosure uses the term

“Tornado Cash service” 45 times; Stephan George’s 5-page disclosure uses the term 12 times;

and Joel DeCapua’s 4-page disclosure uses the term 6 times. There is absolutely no foundation

for the use of this term by these experts. Indeed, across the industry, decentralized protocols do

not use the word “customer”—which means “ a person who buys goods or services”26—as it is

simply incompatible with a free and open-source decentralized protocol available to anyone with

an internet connection.

       These experts cite no foundation for using these terms and there is none; they are clearly

just shilling for the government outside of their areas of expertise. This is inappropriate and

should be precluded. As this Court has held: “It is particularly inappropriate for a witness to

track the exact language of statutes and regulations which the defendant is accused of violating.”

United States v. Jacques Dessange, Inc., 2000 WL 294849, at *2 (S.D.N.Y. Mar. 21, 2000)

(citing United States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994)). The government should not be

permitted, through the use of conclusory unfounded legal language, to invade the province of the

jury on an ultimate issue in the case: whether Tornado Cash was a “service” or “business” or,

instead, merely a collection of smart contracts and related applications that gave users the tools




26
  Customer, CAMBRIDGE DICTIONARY, available at https://dictionary.cambridge.org/us/
dictionary/english/customer.



                                                 33
      Case 1:23-cr-00430-KPF           Document 155        Filed 06/06/25      Page 41 of 47




to maintain privacy over their otherwise public transactions on the blockchain. See 2

Weinstein’s Federal Evidence § 403.04[1][b] (“Unfairness may be found in any form of evidence

that may cause a jury to base its decision on something other than the established propositions in

the case. . . . Prejudice is also unfair if the evidence was designed to elicit a response from the

jurors that is not justified by the evidence.”).

                2.      The Terms “Service” and “Customer” Are Not Probative and Are
                        Unduly Prejudicial

        This Court should also preclude the government and its witnesses from using the terms

due to their minimal probative value and the immense danger of unfair prejudice. Courts in this

District routinely preclude parties from using terms when a term’s probative value is outweighed

by its misleading nature. See, e.g., Highland Cap. Mgmt., L.P. v. Schneider, 551 F. Supp. 2d

173, 193 (S.D.N.Y. 2008) (precluding terms on the basis that the use of the terms “may lead a

juror to believe that the [Defendant] engaged in improper or illegal conduct”); see also United

States v. Patel, 2023 WL 2643815, at *12 (D. Conn. Mar. 27, 2023) (“Where a term has a low

probative value . . . courts have excluded the term’s use because its probative value was

outweighed by its unfairly prejudicial effect.”).

        There is no probative value in the government or its witnesses using the government’s

made-up terms. On the other hand, the danger of unfair prejudice is immense—the terms

“Tornado Cash service” and “customers” are designed to suggest to the jury that Tornado Cash is

a “money transmitting business” without requiring the government to sustain its burden to proof.

The government cannot escape its burden by clinging to its own invented and prejudicial terms.

For this reason too, this Court should preclude the government and its witnesses from using the

terms “Tornado Cash service” and “customers.”




                                                    34
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 42 of 47




       J.      MIL No. 10: This Court Should Preclude the Government and Its Witnesses
               From Offering Improper Summary Charts or Summary Testimony

       Although the government has yet to disclose its exhibit or witness list, the defense

expects, as it has become routine in this District, that it will call a law enforcement agent or

paralegal unfamiliar with the facts of this case as a “summary witness,” to introduce “summary

charts.” Frequently, that testimony strays far beyond the permissible scope of the evidentiary

rules, becoming in essence a mid-trial closing argument.27 Accordingly, the defense moves to

limit any summary testimony or exhibits to their allowable scope.

       Federal Rule of Evidence 1006 permits the use of “a summary chart or calculation to

prove the content of voluminous writings, recordings, or photographs that cannot be

conveniently examined in court.” In other words, the summary is offered as a substitute for the

underlying documents because the documents themselves are too lengthy to review. See Walker

v. Time Life Films, Inc., 784 F.2d 44, 52 (2d Cir. 1986) (“The Rule is designed to deal with the

problem of writings, recordings, or photographs which cannot conveniently be examined in court

by allowing them to be presented in chart or summary form.” (internal quotation marks and

alteration omitted)).

       But too often, rather than meeting the purposes of Rule 1006, the charts—typically, a

collection of slide decks prepared by the government—selectively summarize the government’s

case-in-chief. Instead of a legitimate substitute for voluminous facts, they are used as argument.

The practice is deeply prejudicial to the defendant. As a result, judges in this District and


27
  Local practitioners and commentators have observed a “growing, and disturbing, trend taking
place in federal criminal practice” by which the government essentially delivers summations
through the use of summary witnesses and exhibits pursuant to Rule 1006. See Paul Townsend,
“Summary Witnesses and Due Process,” N.Y.L.J. (Dec. 12, 2022). Specifically, the exhibits
offered become “more akin to written closing arguments than to the summaries of voluminous
writings contemplated by Rule 1006.” James Truss, “Summaries May Help, but Must Still Meet
Rules 611(a), 1006,” Am. Bar Assoc. (July 18, 2012).



                                                 35
      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25      Page 43 of 47




elsewhere have begun to police this tactic. Just last fall, Judge Liman excluded, in a

commodities fraud trial, three summary charts that the government sought to offer through an

FBI agent, who otherwise was not involved in the investigation or case. United States v. Neil

Phillips, Case No. 22-cr-138, (S.D.N.Y. Oct. 20, 2023), ECF No. 90 at 2-4, 8 (hereafter “Phillips

Tr.”).28 In granting the defense motion under both Rules 1006 and Rule 403, Judge Liman noted

that the charts carried “a number of risks” that “substantially outweighed” their value, including

“(1) that the charts will be used in the jury room . . . as a summary of the government's

summation without the defense having the opportunity of a summary of its summation also being

sent into the jury room; (2) that the jury’s time will be wasted; and (3) that the evidence is

needlessly cumulative to what has already been presented.” See id. at 4. Judge Liman explained

that just because “the Court has the power to permit the receipt of the summary charts does not

mean that it should exercise that power.” Id. at 2-3.

       Judge Liman ultimately permitted the government to use the summary charts as

“demonstrative aids,” but allowed considerable cross-examination (i.e., over 50 pages of

transcription) into whether the summary witness conducted an “independent investigation” as to

whether the demonstratives portrayed an accurate picture of the case. See, e.g., Phillips Tr. at

83-84 (ruling, over government’s repeated objection, that extensive cross-examination was

“proper, given what was presented to the jury [by the government’s summary witness] for [the

defense] . . . to establish two propositions[:] . . . that the witness did not exercise any independent

judgment and that the judgment was exercised by a party that has a stake in the outcome of this

case regardless of what justice may have said about the government's interest being in the right




28
  For this Court’s convenience, the transcript excerpts from Judge Liman’s rulings and the
subsequent cross-examination of the summary witness are attached hereto as Exhibit E.



                                                  36
      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25       Page 44 of 47




outcome rather than a victory. . . . Number two, I think it is fair to point out the holes [in the

summary testimony and/or charts]”).

       Even as mere aids, any summary charts must conform to the newly revised version of

Federal Rule of Evidence 107 and not be substitutes for argument.29 The revised Rule 107,

which took effect on December 1, 2024, only permits the use of summary exhibits as an

“illustrative aid” where they would “help the trier of fact understand the evidence or argument if

the aid’s utility in assisting comprehension is not substantially outweighed by the danger of

unfair prejudice, confusing the issues, misleading the jury, undue delay, or wasting time.” Fed.

R. Evid. 107(a) (eff. Dec. 1, 2024). The amendment’s advisory committee notes specifically

prohibit aids that are “prepared to distort or oversimply the evidence presented, or stoke unfair

prejudice.” See id. (advisory committee notes).

       Then-District Judge Nathan addressed an attempt to misuse such an aid in United States

v. Maxwell, in which the government sought to call as a witness an FBI agent, not as a Rule 1006

summary witness, but instead to “analy[ze]” exhibits and “connect up several exhibits and

review them in a way to make those exhibits clear to the jury.” United States v. Maxwell, 20 CR

330 (AJN) (S.D.N.Y. Dec. 9, 2021), ECF No. 757 at 7.30 The government explained that the

agent’s testimony would “review [the exhibits] in a way to make those exhibits clear to the jury

and publish them to show, for example, the continuity of certain phone numbers and names,




29
   The advisory committee notes to the new version of Rule 107 acknowledge that the proper use
of illustrative aids was previously governed by “Rule 611(a)” but “is now to be regulated by the
more particularized requirements of this Rule 107.” Fed. R. Evid. 107 (advisory committee
notes).
30
   For this Court’s convenience, the transcript excerpts from Judge Nathan’s ruling are attached
hereto as Exhibit F.



                                                  37
      Case 1:23-cr-00430-KPF           Document 155         Filed 06/06/25       Page 45 of 47




where they change over time, where they are in the message books in order to make that clear for

the jury.” Id.

        Judge Nathan readily rejected this as a backdoor attempt to make two closing arguments.

As the court explained, the agent’s anticipated testimony was a “streamlined version of the

closing argument.” Id. at 15; see also id. at 13 (Court: “You’re simply asking [the agent] to do

the work of the government in the closing.”); id. at 15 (Court: “That’s what this is, it’s closing

argument.”). Predictably, the agent was not involved in the investigation and had no personal

knowledge of the evidence. Id. at 13. Thus, the court precluded the anticipated testimony.

        Other courts have been equally vigilant against the misuse of illustrative aids, noting that

the purpose of summary charts under either Rule 107 or Rule 1006 is not to present argument,

and the prosecution must not be allowed to give a mid-trial summation through such charts. See

United States v. Fullwood, 342 F.3d 409, 414 (5th Cir. 2003) (“summary witnesses are not to be

used as a substitute for, or a supplement to, closing argument.”); see also Peat, Inc. v. Vanguard

Research, Inc., 378 F.3d 1154, 1159-60 (11th Cir. 2004) (“because ‘summaries are elevated

under Rule 1006 to the position of evidence, care must be taken to omit argumentative matter in

their preparation lest the jury believe that such matter is itself evidence of the assertion it

makes.” (citation omitted)). Rather, summary charts must be “nonprejudicial” and presented in a

“nonmisleading manner.” United States v. Bray, 139 F.3d 1104, 1110 (6th Cir. 1998) (citations

omitted). While the difference between valid summary testimony and argument is not a bright

line, Circuit courts have made clear that the “summary should not draw controversial inferences

or pronounced judgment; these functions are best left to the closing argument of counsel.” See

United States v. Lemire, 720 F.2d 1327, 1350 (D.C. Cir. 1983); see also United States v.

Johnson, 54 F.3d 1150, 1162 (4th Cir. 1995) (finding the “use of summaries—be it through




                                                  38
      Case 1:23-cr-00430-KPF          Document 155         Filed 06/06/25      Page 46 of 47




narrative or charts—is best saved for the prosecutor's closing argument”). Indeed, “a summary

[chart] containing elements of argumentation could very well be the functional equivalent of a

mini-summation by the chart’s proponent every time the jurors look at it during their

deliberations.” Bray, 139 F.3d at 1110.

       This Court should guard against the same danger here. These charts often serve the exact

purpose of a closing argument—linking together evidence admitted across several different

witnesses or sources and highlighting portions that arguably support the government’s theory of

the case.

       The risk of unfair prejudice is heightened by the fact that the government almost always

attempts to introduce these sorts of exhibits through a witness with no personal knowledge of the

case and no personal knowledge of the underlying documents, leaving the defense without the

ability to meaningfully cross examine the witness about the material. Moreover, such

presentations are by their very nature unnecessarily cumulative, as they merely highlight

evidence contained in properly admissible exhibits and testimony. See Fed. R. Evid 107

(permitting exclusion of illustrative aids due to “wasting time” or “undue delay”); Phillips Tr. at

4 (noting the proposed charts are “needlessly cumulative to what has already been presented”).

       While this Court could instruct the jury that any “illustrative aid” is not evidence, see

Fed. R. Evid. 105, any limiting instruction would be insufficient to cure the harm from the

equivalent of a mid-trial closing argument. Precluding the presentation is the only way to ensure

Mr. Storm is not unfairly prejudiced. The government already has two opportunities to address

the jury in closing, as compared to the one for the defense; it should not be given a third.

       Accordingly, Mr. Storm respectfully requests that this Court preclude the government’s

use of improper summary testimony or exhibits that are used as argument rather than a true




                                                 39
      Case 1:23-cr-00430-KPF          Document 155        Filed 06/06/25      Page 47 of 47




summary of voluminous facts. To the extent the government intends to use summary exhibits as

illustrative aids, the defense moves for advance disclosure of such charts to give “sufficient

opportunity for analysis by [the defendant], particularly if they are complex.” Fed. R. Evid. 107

(advisory committee notes); see also id. (“Many courts require advance disclosure of illustrative

aids, as a means of safeguarding and regulating their use.”). Lastly, if this Court does permit the

government to offer any charts as aids, defense counsel should be given the opportunity to

conduct a thorough cross-examination like the one permitted by Judge Liman in Phillips.

IV.    CONCLUSION

       For the foregoing reasons, Mr. Storm respectfully requests that this Court grant these

motions in limine.

DATED: June 6, 2025                                Respectfully submitted,


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